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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION
                                FRANKFORT
                             Electronically Filed



COMMONWEALTH OF KENTUCKY, et
al.,

         Plaintiffs,                           Civil No. 3:21-cv-00055-GFVT
    v.

JOSEPH R. BIDEN, et al.,

         Defendants.



           DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION
                  FOR A PRELIMINARY INJUNCTION
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       Plaintiff States—Kentucky, Ohio, Tennessee—and two Ohio sheriffs have sued the

President, the United States, and more than two dozen federal agencies and officials.

Plaintiffs challenge Executive Order 14042, which directs certain types of federal

government contracts to include a clause requiring certain COVID safety protocols—

including vaccination requirements—in “any new contract,” “new solicitation for a

contract,” “extension or renewal of an existing contract,” and “exercise of an option on

an existing contract.” Executive Order 14042, 86 FR 50985 (Sept. 14, 2021) (“Executive

Order” or “EO”).

       Plaintiffs ask this Court to exercise its extraordinary emergency powers to enjoin

this EO across the country—even outside the boundaries of the Plaintiff States. See

Motion for TRO and Preliminary Injunction, ECF No. 12 (“Mot.”); Proposed Order ECF

No. 12-5. But Plaintiffs have failed to show how they have been harmed at all, much less

that they face irreparable harm. Plaintiffs provide no evidence that they are parties to a

federal contract that already has this clause, or parties to an existing covered contract that

is up for an option, extension, or renewal that will include the challenged clause. Nor do

Plaintiffs identify any covered solicitations they plan to bid on or covered contracts they

plan to enter into in the immediate future. For these reasons alone, Plaintiffs’ motion

should be denied.

       Even if this Court reaches the merits, it should reject Plaintiffs’ argument that the

President has no power to direct federal contracting—an argument that conflicts with

more than 50 years of precedent. Additionally, their procedural arguments are meritless

and now are moot because the Director of the Office of Management and Budget has

superseded her prior Notice with a revised document that solicits public comments. And

the constitutional claims raised by Plaintiffs have been considered and rejected by courts

many times over.

       When COVID-19 first emerged in the United States, it ravaged the economy and

devastated government contractors.          No less than private entities, the federal


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government’s operations suffered when its contractors’ employees became sick and died

from COVID-19.      Safe and effective vaccines provide the promise that the federal

government and its contractors can resume full operations. The Federal Government has

therefore made a decision to require those with whom it contracts to take precautions to

prevent the spread of this virulent, contagious disease. “Like private individuals and

businesses, the Government enjoys the unrestricted power to produce its own supplies,

to determine those with whom it will deal, and to fix the terms and conditions upon

which it will make needed purchases.” Perkins v. Lukens Steel Co., 310 U.S. 113, 127 (1940).

“Those wishing to do business with the Government must meet the Government's terms;

others need not.” AFL-CIO v. Kahn, 618 F.2d 784, 794 (D.C. Cir. 1979) (en banc). The

Court should reject Plaintiffs’ request to impose their novel view of the ability of the

Federal Government to set the terms of its own contracts.

                                    BACKGROUND

I.     The COVID-19 Pandemic

       On January 31, 2020, the Secretary of Health and Human Services (“HHS”)

declared a public health emergency because of COVID-19, a respiratory disease caused

by the novel coronavirus, SARS-CoV-2. HHS, Determination that a Public Health Emergency

Exists (Jan. 31, 2020), https://perma.cc/VZ5X-CT5R. On March 13, 2020, the President
declared the COVID-19 outbreak a national emergency. 85 FR 15,337 (Mar. 13, 2020). In

July 2021, the United States began to experience “a rapid and alarming rise in . . . COVID-

19 cases and hospitalization rates,” driven by an especially contagious strain. See Centers

for Disease Control and Prevention (“CDC”), Delta Variant (updated Aug. 26, 2021),

https://perma.cc/4RW6-7SGB. 1 To date, more than 46 million Americans have been

infected with COVID-19 and more than 759,000 have died from COVID-19. CDC Covid


1
 The Court may take judicial notice of factual information available on government web-
sites. See Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 322–23 (2007).


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Data Tracker, as of Nov. 13, 2021, https://perma.cc/J7VW-7H8M

II.    Vaccine Requirements for Federal Contractors
       On September 9, the President acting as CEO of the federal government, issued

EO 14042 to “promote[] economy and efficiency in Federal procurement by ensuring that

the parties that contract with the Federal Government provide adequate COVID-19

safeguards to their workers performing on or in connection with a Federal Government

contract or contract-like instrument.” EO 14042. He determined that new safeguards

would “decrease worker absence, reduce labor costs, and improve the efficiency of

contractors and subcontractors at sites where they are performing work for the Federal

Government.” Id. And he directed the Safer Federal Workforce Task Force (“Task

Force”) to issue guidance. EO 14043, 86 FR 50, 989, 50,990 (Sept. 14, 2021).

       EO 14042 directs federal executive departments and agencies, “to the extent

permitted by law,” to include a clause requiring compliance with workplace safety

guidance issued by the Task Force that is approved by the Director of the Office of

Management and Budget (“OMB”), after a finding that the guidance, “if adhered to by

contractors or subcontractors, will promote economy and efficiency in Federal

contracting.” 86 FR at 50,985; see also id. at 50,986-50,987.

       The Task Force issued safety guidance on September 24, 2021. Task Force, COVID-

19 Workplace Safety: Guidance for Federal Contractors and Subcontractors,

https://perma.cc/6DRV-LV2Q (“Contractor Guidance”).             That guidance, which OMB

approved, requires that covered contractor and subcontractor employees should receive

a COVID-19 vaccination, except insofar as any such employee is legally entitled to an

accommodation. https://perma.cc/CL8P-YV5B (“Old OMB Determination”).

       The EO directs the Federal Acquisition Regulatory Council (“FAR Council”) to

make corresponding amendments to the Federal Acquisition Regulation (“FAR”) and in

the interim to issue guidance on how to use existing agency authority to include the new



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provision in covered contracts. 86 FR at 50,986. The FAR Council issued initial guidance

on September 30, 2021, which provided a sample clause that agencies could use to

implement the EO in new contracts and solicitations. Memo. from FAR Council to Chief

Acquisition Officers, et al., re: Issuance of Agency Deviations to Implement Executive

Order 14042 (Sept. 30, 2021), https://perma.cc/9BQ8-XBT6 (“FAR Memo”). See also Open

FAR Cases, https://perma.cc/P84M-3XUY (No. 2021-21 relates to FAR Rulemaking).

       On November 10, 2021, the OMB Director issued a revised Determination which

revoked the prior OMB Determination, gave covered contractors additional time to

comply with the EO’s vaccination requirements, and provided a more detailed analysis

of how the Contractor Guidance would promote economy and efficiency in government

contracting. See Determination of the Acting OMB Director Regarding the Revised Safer

Federal Workforce Task Force Guidance for Federal Contractors and the Revised

Economy & Efficiency Analysis, available at: http://federalregister.gov/d/2021-24949

(Nov. 16, 2021) (“New OMB Determination”). The updated Determination provides that

as of January 18, 2022, covered contractor employees must be vaccinated on the first day

of a new covered contract or when there is a renewal, extension, or exercised option on

an existing one. Id. The New OMB Determination is effective as of November 10, 2021,

and provides for a public comment period through December 16, 2021. Id.

III.   Procedural History

       On November 4, 2021, Plaintiffs filed this lawsuit. See Compl., ECF No. 1. Their

complaint contains ten counts challenging EO 14042, the OMB Director’s now-

superseded determination, and the FAR Council’s guidance. See id., ¶¶ 127–207. On

November 8, 2021 (before the New OMB Determination), Plaintiffs filed a motion for a

TRO and a preliminary injunction. See generally Mot. The next day, the Court held a

telephonic status conference with the parties and set a briefing schedule on the motion.

See ECF No. 16. Defendants now submit this brief opposing Plaintiffs’ pending motion.



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                                       ARGUMENT

       A preliminary injunction is “one of the most drastic tools in the arsenal of judicial

remedies.” ACLU of Ky. v. McCreary Cnty., 354 F.3d 438, 444 (6th Cir. 2003) (citation

omitted), aff’d, 545 U.S. 844 (2005). “A preliminary injunction is . . . never awarded as of

right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008) (citation omitted). And one “should

not be granted unless the movant, by a clear showing, carries the burden of persuasion.”

Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (citation omitted). The movant “must

establish that he is likely to succeed on the merits, that he is likely to suffer irreparable

harm in the absence of preliminary relief, that the balance of equities tips in his favor, and

that an injunction is in the public interest.” Thompson v. DeWine, 976 F.3d 610, 615 (6th

Cir. 2020) (citation omitted).

I.     Plaintiffs Are Not Entitled to Preliminary Relief Because They Have Failed to
       Establish a Strong Likelihood of Standing.

       The Court lacks subject-matter jurisdiction over this case because Plaintiffs have

not established standing to bring their claims. See Lance v. Coffman, 549 U.S. 437, 439

(2007) (per curiam). Plaintiffs bear the burden of demonstrating standing “‘for each claim

[they] seek[] to press’ and ‘for each form of relief sought.’” See Waskul v. Washtenaw Cnty.

Cmty. Mental Health, 900 F.3d 250, 253 (6th Cir. 2018) (citation omitted).

       The “irreducible constitutional minimum of standing contains three elements”:

(1) an “injury in fact—an invasion of a legally protected interest which is concrete and

particularized” and “actual or imminent, not conjectural or hypothetical”; (2) a “causal

connection between the injury and the conduct complained of”; and (3) “it must be likely,

as opposed to merely speculative, that the injury will be redressed by a favorable

decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (citations and quotation

marks omitted). And where, as here, “reaching the merits of [a] dispute would force [a

court] to decide whether an action taken by one of the other two branches of the Federal

Government was unconstitutional,” the “standing inquiry [is] especially rigorous.”



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Raines v. Byrd, 521 U.S. 811, 819–20 (1997).

       Plaintiffs have made no serious effort to carry their “especially rigorous” burden:

claims about the potential loss of unnamed contracts or harm from hypothetical loss of

potential tax revenue does not even begin to satisfy their burden to “clearly show” a

concrete, particularized, and imminent injury that can be traced to the Order and is likely

to be redressable by a favorable decision. When a claim involves a challenge to a future

contracting opportunity, the pertinent question is whether Plaintiffs “ha[ve] made an

adequate showing that sometime in the relatively near future [they] will bid on another

Government contract,” Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 211 (1995).

       Plaintiffs fail to demonstrate that any state agency or subdivision is currently (or

will soon be) subject to such a mandate. Plaintiffs identify five contracts between the

federal government and a state agency or subdivision, each providing for the housing of

federal detainees at county jails or sheriff’s offices on behalf of either Immigration and

Customs Enforcement (“ICE”) or the U.S. Marshals Service. See Decl. of Fredrick W.

Stevens (“Stevens Decl.”), ¶ 2, Ex. A at 1, ECF No. 12-2; Decl. of Scott A. Hildenbrand

(“Hildenbrand Decl.”), Ex. A, ECF No. 12-3 at 7, 20; Decl. of Victor B. Maddox (“Maddox

Decl.”), ¶ 6, Ex. A–C, ECF No. 12–4. Yet none of these contracts are “covered contracts”—

i.e., a contract that includes a clause requiring compliance with OMB-approved Task

Force Guidance. See 86 FR at 63419; see also EO 14042, § 2(a).

       Nor do Plaintiffs provide any indication that these contracts will soon be amended

to include such a requirement. While ICE and the U.S. Marshals Service are “strongly

encouraged” under EO 14042 to incorporate the Task Force’s COVID-19 safety protocols

into “existing contracts,” they can only do so “to the extent permitted by law.” See EO

14042, § 6(c). The contracts that Plaintiffs identify can be amended only upon the mutual,

written agreement of the parties. See Stevens Decl., Ex. A at 8; Hildebrand Decl., Ex. A at

12, 25; Maddox Decl., Ex. A at 11, Ex. B at 11, Ex. C at 11. There is no indication that the

U.S. Marshals Service has made a request to amend its contracts to incorporate a COVID-


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19 safety clause. ICE has, however, requested that the Seneca County Jail, in Tiffin, Ohio,

agree to a bilateral modification that implements EO 14042 and requires compliance with

Task Force Guidance. 2 See Decl. of Natalie Carr, ¶ 2, Exs. 1–2. But because this bilateral

modification would only be effective upon Seneca’s approval, if Seneca refuses ICE’s

request, its contract will not be subject to the “federal contractor vaccine mandate” that it

seeks to preliminarily enjoin. Asking to change a contract term is not a cognizable harm.

       This failure of proof is fatal to Plaintiffs’ motion. “[W]here a plaintiff moves for a

preliminary injunction, [a] district court . . . should normally evaluate standing under the

heightened standard for evaluating a motion for summary judgment,” Waskul, 900 F.3d

at 255 n.3 (internal quotation marks and citation omitted)—that is, by requiring the

plaintiff to support their allegations of standing “by affidavit or other evidence," see

McKay v. Federspiel, 823 F.3d 862, 867 (6th Cir. 2016) (citation omitted). Failure “to

establish a substantial likelihood of standing requires denial of [a] motion for preliminary

injunction.” Waskul, 900 F.3d at 255 n.3; accord id. at 256 n.4.

       Plaintiffs also lack standing to challenge the FAR Memo because they fail to

explain how enjoining the FAR Memo would redress any injury. As the Supreme Court

has made clear, “standing is not dispensed in gross.” Town of Chester v. Laroe Ests., Inc.,

137 S. Ct. 1645, 1650 (2017) (citation omitted). Instead, “a plaintiff must demonstrate

standing for each claim he seeks to press and for each form of relief that is sought.” Id.

(quoting Davis v. Fed. Election Comm'n, 554 U.S. 724, 734 (2008)). The President instructed

agencies and contracting officers to include certain provisions in new contracts. EO § 2.

The FAR Memo suggests a sample clause that agencies and contracting officers might use

to implement the Executive Order. Far Memo at 4. Agencies have the authority to

include a verbatim clause in contracts and solicitations even without the FAR Memo.


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  This request for a bilateral modification also complies with DHS’s own policy for
implementing EO 14042. See Decl. of Natalie Carr, ¶ 3, Ex. 3.



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       Plaintiffs may have standing to challenge the inclusion of a COVID-19 safety

clause in some future contract or bid. But because Plaintiffs have not shown an injury

that is “actual and imminent,” and not merely “conjectural or hypothetical,” see Lujan,

504 U.S. at 560, Plaintiffs are “not entitled to a preliminary injunction,” and their motion

should therefore be denied, see Waskul, 900 F.3d at 256 n.4.; accord Memphis A. Philip

Randolph Inst. v. Hargett, 2 F.4th 548, 554 (6th Cir. 2021).

II.    Plaintiffs Are Unlikely To Succeed On The Merits.
       A.      Plaintiffs Are Not Likely To Show That The President Lacks Authority
               To Regulate Federal Government Contracting.

       Plaintiffs argue that the President lacks authority to issue binding guidance for

government contracts. Mot. at 16–19. This argument ignores that Congress specifically

authorized the President to manage federal procurement in the Federal Property and

Administrative Services Act (FPASA). 40 U.S.C. § 121(a). While Plaintiffs claim that

FPASA does not grant the President such authority, they cite no opinions interpreting

FPASA in the novel manner they are proposing. Indeed, Plaintiffs’ position ignores more

than a half century of precedent from all three branches of our constitutional system.

       Since the 1960s, federal appellate courts have routinely held that FPASA

authorizes the President to manage government contracting through executive orders.

See, e.g., Farmer v. Phila. Elec. Co., 329 F.2d 3, 7 (3d Cir. 1964); Farkas v. Tex. Instrument, Inc.,

375 F.2d 629, 632 (5th Cir. 1967). Courts have concluded, for example, that FPASA

authorizes the President to require government contractors to comply with wage and

price controls, Khan, 618 F.2d 784, to post notices at all of their facilities informing

employees that they cannot be forced to join a union or to pay mandatory dues for costs

unrelated to representational activities, UAW-Lab. Emp. & Training Corp. v. Chao, 325 F.3d

360, 366 (D.C. Cir. 2003), and to require contractors to confirm employee’s immigration

status through e-Verify, Chamber of Com. of U.S. v. Napolitano, 648 F. Supp. 2d 726, 729 (D.

Md. 2009). See also City of Albuquerque v. U.S. Dep’t of Interior, 379 F.3d 901 (10th Cir. 2004)


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(urban renewal); AFGE v. Carmen, 669 F.2d 815 (D.C. Cir. 1981) (conservation of gasoline

during an oil crisis).   Indeed, even cases relied on by Plaintiffs confirm that “the

Procurement Act does vest broad discretion in the President.” Chamber of Com. of U.S. v.

Reich, 74 F.3d 1322, 1330, 1333 (D.C. Cir. 1996) (affirming the “President’s authority to

pursue ‘efficient and economic’ procurement” through EOs, but holding the challenged

order conflicted with another statute).

       Plaintiffs asks the Court to adopt their cramped interpretation of FPASA by

purportedly relying on the text of the statute.         But the text is quite broad—the

FPASA authorizes the President to “prescribe such policies and directives, not

inconsistent with the provisions of this Act, as he shall deem necessary to effectuate the

provisions of said Act.” Chao, 325 F.3d at 366 (quoting 40 U.S.C. § 486(a) (2000) (now

codified as amended at 40 U.S.C. § 121)). The President is given broad discretion to

supervise government contracting “as he shall deem necessary” so long as the President

does not act “inconsistent[ly] with the provisions” of the FPASA. Courts have “read this

as requiring that the executive order have a ‘sufficiently close nexus’ to the values of

providing the government an ‘economical and efficient system for . . . procurement and

supply.’” Chao, 325 F.3d 360, 366 (D.C. Cir. 2003) (citation omitted); see also Liberty Mut.

Ins. Co. v. Friedman, 639 F.2d 164, 169 (4th Cir. 1981). And as discussed below, the

challenged policies satisfy this nexus requirement.

       Plaintiffs’ argument that the President lacks authority to direct government

contracting is further undermined by Congress’s implicit endorsement of an expansive

view of the President’s power under FPASA. Presidents have regularly exercised their

authority under FPASA since it was enacted. See Kahn, 618 F.2d at 790–91 (“Since 1941,

though, the most prominent use of the President’s authority under the FPASA has been

a series of anti-discrimination requirements for Government contractors”); see also, e.g.,

EO 12072, 43 FR 36869 (Aug. 16, 1978); EO 13465, 73 FR 33285 (June 11, 2008); EO 13950,

85 FR 60683 (Sept. 28, 2020). “Past [Presidential] practice does not, by itself, create power,


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but ‘long-continued practice, known to and acquiesced in by Congress, would raise a

presumption that the [action] had been [taken] in pursuance of its consent.’” Dames &

Moore v. Regan, 453 U.S. 654, 686 (1981). “[T]he President's view of his own authority

under a statute is not controlling, but when that view has been acted upon over a

substantial period of time without eliciting Congressional reversal, it is entitled to great

respect.” Kahn, 618 F.2d at 790.

       Congress, likewise, has long understood and accepted that FPASA granted broad

authority to the President. While Congress has revised the FPASA since 1949, including

a complete recodification in 2002, none of those amendments modified or restricted the

power being used by the President here. 3 “If a word or phrase has been . . . given a

uniform interpretation by inferior courts . . . , a later version of that act perpetuating the

wording is presumed to carry forward that interpretation.” Texas Dep't of Hous. & Cmty.

Affairs v. Inclusive Communities Project, Inc., 576 U.S. 519, 536-37 (2015) (quoting A. Scalia

& B. Garner, Reading Law: The Interpretation of Legal Texts 322 (2012)).
       B.     The President’s Power Is Within The Scope Of The Procurement Act.

       The President’s authority to direct government procurement is consistent with the

Congressional grant of authority in FPASA, so long as those policies are “reasonably

related to the Procurement Act’s purpose of ensuring efficiency and economy in

government procurement.” Liberty Mut., 639 F.2d at 170. Courts have “emphasized the

necessary flexibility and ‘broad-ranging authority’” that FPASA provides. Chao, 325 F.3d

at 366. The standard is “lenient” and can be satisfied even when “the order might in fact

increase    procurement    costs”   in   the   short   run.     Id.   at   366–67.     “[T]his

close nexus requirement [] mean[s] little more than that President's explanation for how

an Executive Order promotes efficiency and economy must be reasonable and rational.”


3
 See, e.g., Pub. L. No. 99-500, §101(m) [title VIII, §832], 100 Stat. 1783-345 (1986); Pub. L.
No. 99-591, §101(m) [title VIII, §832], 100 Stat. 3341-45 (1986); Pub. L. No. 104-208 § 101(f)
[Title VI, § 611], 110 Stat. 3009-355 (1996); Pub. L. No. 107-217, 116 Stat. 1062, 1068 (2002).


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Napolitano, 648 F. Supp. 2d at 738 (one sentence explanation sufficient); see also Reich, 74

F.3d at 1333 (“The President's authority to pursue ‘efficient and economic’ procurement

. . . certainly reach[es] beyond any narrow concept of efficiency and economy in

procurement.”) (collecting examples).

       Executive Order 14042 easily satisfies this lenient standard.        The President

explained in Section 1 of the EO:
       This order promotes economy and efficiency in Federal procurement by en-
       suring that the parties that contract with the Federal Government provide
       adequate COVID-19 safeguards to their workers performing on or in con-
       nection with a Federal Government contract . . . . These safeguards will
       decrease the spread of COVID-19, which will decrease worker absence, re-
       duce labor costs, and improve the efficiency of contractors and subcontrac-
       tors at sites where they are performing work for the Federal Government.

To anyone who has lived through the COVID-19 pandemic and its resulting economic

turmoil, the nexus between reducing the spread of COVID-19 and economy and

efficiency in federal contracting is self-evident. While Plaintiffs may disagree with the

President’s policy or consider it unwise, the EO’s explanation is sufficient to show the

required nexus between the policy and economy and efficiency. Compare EO § 1 with

Chao, 325 F.3d at 366–67 (holding sufficiently close nexus to efficient and economic

procurement based on two sentences: “When workers are better informed of their rights,
including their rights under the Federal labor laws, their productivity is enhanced. The

availability of such a workforce from which the United States may draw facilitates the

efficient and economical completion of its procurement contracts.“). The OMB Director’s

Determinations that economy and efficiency would be promoted through the contractor

vaccination requirement underscores the nexus. See 86 FR at 63421–23.

       Plaintiffs argue that the FAR Council’s statutory responsibility to “issue and

maintain” the Federal Acquisition Regulation—a 2,000+-page regulation—means that the

FAR Council has the exclusive authority to issue procurement regulations. Mot. at 12 –14

(citing 41 U.S.C. § 1303(a)(1)). But the FAR Council’s authority to issue regulations is not


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exclusive. The very next subsection, Section 1303(a)(2)(A), permits agencies to proscribe

“regulations essential to implement Government-wide policies and procedures.” And,

of course, the EO and the OMB Director’s Determination set Government-wide

procurement policies pursuant to 40 U.S.C. § 121(a), which authorizes the President to

“prescribe policies.” Section 3 of the EO recognizes these two sources of authority by

directing the FAR Council to revise the FAR, and until that happens, directing agencies

“to exercise any applicable authority” to implement the Government-wide policies and

procedures described in the Executive Order and any subsequent OMB Determinations.
       C.     The Vaccination Requirement Does Not Violate The Competition In
              Contracting Act.
       Plaintiffs are also unlikely to show that the contractor vaccination requirement

conflicts with the Competition in Contracting Act, which simply requires “full and open

competition” and “competitive procedures.” 41 U.S.C. § 3301. Plaintiffs argue that the

requirement violates this Act because certain bidders may not meet the qualifications in

solicitations that require a vaccinated workforce. Mot. at 16–17 (citing Nat'l Gov't Servs.,

Inc. v. United States, 923 F.3d 977 (Fed. Cir. 2019)). But National Government Services

squarely rejected Plaintiffs’ argument when it upheld “the unremarkable proposition that

a solicitation requirement (such as a past experience requirement) is not necessarily

objectionable simply because that requirement has the effect of excluding certain offerors

who cannot satisfy that requirement.”       923 F.3d at 985; id. at 986 (holding a rule

preventing bidders who already had a certain amount of agency contract work violated

the Contracting Act because “the exclusion is not based on some capability or experience

requirement” or any other substantive evaluation factor). Setting requirements that

contractors may refuse does not violate the Competition In Contracting Act.
       D.     Plaintiff’s Challenges To The OMB Determination Are Not Justiciable.
       Plaintiffs challenge the OMB’s initial determination, issued on September 24, 2021.

Plaintiffs’ APA challenge to the now-superseded OMB determination is moot because



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this determination has been expressly superseded by the New OMB Determination

containing substantive changes. See Akiachak Native Community v. U.S. Dep't of Interior,

827 F.3d 100, 113 (D.C. Cir. 2016) (noting the “well-settled principle of law” that “when

an agency has rescinded and replaced a challenged regulation, litigation over the legality

of the original regulation becomes moot.”).

       In any event, neither the previous notice nor the operative New OMB

Determination is reviewable under the APA, because neither is an “agency action.”

“Because the President is not an ‘agency’ for purposes of the APA, presidential action is
not subject to judicial review under that statute.” NRDC v. Dep’t of State, 658 F. Supp. 2d

105, 109 (D.D.C. 2009) (citing Franklin v. Massachusetts, 505 U.S. 788, 800–01 (1992); Dalton

v. Specter, 511 U.S. 462, 470 (1994)). The President delegated to the OMB Director,

pursuant to 3 U.S.C. § 301, the authority to determine whether the Safer Federal

Workforce Task Force Guidance “will promote economy and efficiency in Federal

contracting.” See EO 14042, § 2(c). Section 301 authorizes the President “to designate and

empower the head of any department or agency in the executive branch, . . . to perform

without approval, ratification, or other action by the President [] any function which is

vested in the President by law,” including the President’s power to direct government

contracting pursuant to 41 U.S.C. § 121(a). When exercising delegated authority, the

official “stands in the President’s shoes” and “cannot be subject to judicial review under

the APA.” NRDC, 658 F. Supp. 2d at 109 & n.5, 111; see also Detroit Int’l Bridge Co. v.

Canada, 189 F. Supp. 3d 85, 100 (D.D.C. 2016).
       E.     Plaintiffs Are Not Likely to Succeed on Merits of their OMB
              Determination Challenges.
       Plaintiffs also fault the now-superseded OMB determination for not following the

notice-and-comment requirements of the APA and 41 U.S.C. § 1707. But the APA does

not apply. See 5 U.S.C. § 553(a)(2) (excluding matters related to contracts). And § 1707

does not apply to exercises of Presidential authority like the OMB determination because


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§ 1707 applies only to “executive agencies.” 41 U.S.C. § 133. But when the OMB Director

exercises delegated presidential authority, she is not acting as “the head of [an] agency.”

         In any event, even if § 1707 were applicable, the New OMB Determination satisfies

§ 1707’s procedural requirements.         Section 1707 permits a proposal to become

temporarily effective without publication and public comment if “the officer authorized

to issue” the proposal finds that “urgent and compelling circumstances make compliance

with [those] requirements impracticable.” Id. § 1707 (d)–(e). Here, the OMB Director did

just that by finding that the imminent threat of the COVID-19 pandemic and its impact
on “worker absence,” “labor costs,” and “the efficiency of federal contracting” presented

“[u]rgent and compelling circumstances justify[ing]” a waiver under § 1707(d). 86 FR at

63423–24. And consistent with § 1707(e), the OMB Director “solicit[ed] comment on all

subjects of” the OMB Determination, thus permitting the determination to become

temporarily effective upon filing with the Federal Register on November 10, 2021. Id. at

63424.

         Even if the Determination were subject to the APA, the arbitrary-and-capricious

claims would still fail because the Determination provides “a rational connection

between the facts found and the choice made.” Dickson v. Sec’y of Def., 68 F.3d 1396, 1404–

05 (D.C. Cir. 1995) (quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983)). “[R]eview under the arbitrary and capricious standard is

deferential.” Ky. Waterways All. v. Johnson, 540 F.3d 466, 474 (6th Cir. 2008) (quoting Nat’l

Ass’n of Home Builders v. Defs. of Wildlife, 551 U.S. 644, 658 (2007)). A court “simply ensures

that the agency has acted within a zone of reasonableness and, in particular, has

reasonably considered the relevant issues and reasonably explained the decision.” FCC

v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021).
         The OMB Determination is eminently reasonable. OMB’s Director approved the

revised Task Force Guidance because it concluded that “[t]he safety protocols that are set

forth” in the guidance “are meant to ensure that COVID-19 does not easily spread within


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the workplace, so that Federal contractor employees can continue to be productive.” 86

FR at 63423. The requirement promotes economy and efficiency in federal contracting

because decreasing worker absences saves costs.             As OMB’s Director explains,

“[r]educing the number of infected people mechanically reduces transmission,” and

“evidence also indicates that vaccines also reduce transmission by people who contract

‘breakthrough’ infections.” Id. at 63422. In conjunction with the other safety protocols

proposed in the Workforce Guidance, the vaccine requirements will “prevent infection

and illness and preserve the productivity” of federal contractors. Id.
       The OMB Director’s Determination also explains that, in her judgment, requiring

vaccination will not lead any meaningful number of workers to quit their jobs, thereby

addressing Plaintiffs’ concern about the “possibility that [the vaccine requirement] would

cause a labor shortage.” Mot. at 18. OMB looked at data from major private employers

to see whether workers leave their jobs instead of complying with vaccine requirements

and concluded that there was “no systematic evidence that this has been a widespread

phenomenon or that it would be likely to occur among employees of Federal contractors.

In fact, the experience of private companies is to the contrary.” 86 FR at 63422 (citing

evidence from Tyson Foods and United Airlines, among other companies). 4 The OMB

Director’s “predictive judgment,” based on empirical evidence, is entitled to deference.

Rural Cellular Ass’n v. FCC, 588 F.3d 1095, 1105 (D.C. Cir. 2009); see also Newspaper Ass’n of

Am. v. Postal Regul. Comm’n, 734 F.3d 1208, 1216 (D.C. Cir. 2013) (“When, as here, an

agency is making ‘predictive judgments about the likely economic effects of a rule,’ we

are particularly loath to second-guess its analysis.”).

       Plaintiffs claim that the vaccine requirement’s costs to the States, and their reliance


4The article and survey cited by Plaintiffs, Mot. at 8, Chris Isidore & Virginia Langmaid,
72% of unvaccinated workers vow to quit if ordered to get vaccinated, CNN (Oct. 28, 2021),
https://perma.cc/7JMV-SULY, includes this same data and notes that “[w]hat people say
in a survey, and what they would [ultimately] do . . . can be two different things.”


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interests, were not considered. Mot. at 18. But the OMB Director’s Determination did

consider the costs to covered contractors, including Plaintiffs, and determined that

“[b]ecause vaccines are widely available for free, the cost of implementing a vaccine

mandate is largely limited to administrative costs associated with distributing

information about the mandate and tracking employees’ vaccination status. Such costs

are likely to be small.” 86 FR 63422. As for “reliance interests,” Plaintiffs fail to articulate

any harm from their “reliance” on the absence of a contractor vaccine requirement when

enacting state laws. The EO does not apply to existing contracts. And OMB was entitled
to approve guidance to manage federal operations and contracts on the basis of the data

it considered, notwithstanding the presence of state and local measures that would be

preempted for federal contracting purposes.

       Plaintiffs also argue that OMB’s Determination was pretextual because it was

“never about procurement efficiency—it is about public health.” Mot. at 19. In support,

they rely on an extra-record and inapposite statement made earlier in the pandemic by

the White House Press Secretary. Plaintiffs' attempts to rely on material outside the

administrative record as evidence of pretext, see id. at 26 n.19, should be rejected. As the

Supreme Court has explained, when there is a “contemporaneous explanation” for an

agency's decision, its validity “must . . . stand or fall on the propriety of that

finding.” Camp v. Pitts, 411 U.S. 138, 143 (1973). Plaintiffs also fail to establish that the

New OMB Determination and attendant explanation “is incongruent with what the

record reveals about the agency's priorities and decisionmaking process.” Dep't of Com.

v. New York, 139 S. Ct. 2551, 2575–76 (2019). As the OMB Director reasonably concluded,

slowing the spread of COVID-19 has an economically beneficial impact on federal

operations, since federal workers are incurring significant labor costs from workers

getting sick from COVID-19 and spreading it to others in the workplace. See 86 FR 63421–

23. While such a policy may also have salutary public health effects, that result does not

undermine the reasoning or legitimacy of the OMB Director’s determination. Further,


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even if the public-health effect was a background consideration, “a court may not reject

an agency's stated reasons for acting simply because the agency might also have had

other unstated reasons.” Dep't of Com., 139 S. Ct. at 2573.
       F.     Challenges To The FAR Memo Are Likewise Not Likely To Succeed.
       The FAR Memo is also not subject to judicial review under the APA because it

does not apply to matters relating to contracts. 5 U.S.C. § 553(a)(2). Moreover, the APA

provides review only of final agency action—i.e., a decision (1) that marks the

“consummation of the agency’s decisionmaking process” and (2) by which “rights or

obligations have been determined, or from which “legal consequences will flow.” Bennett

v. Spear, 520 U.S. 154, 177–78 (1997) (citation omitted). Neither prong is met here.

       First, the FAR Memo is not final agency action because it is not a FAR regulation.

This guidance was issued in accordance with the EO’s instructions for the FAR to “take

initial steps to implement” the contract clause described in the EO. EO 14042 § 3(a)

(emphasis added). The FAR Memo suggests a clause for contracting officers to use in the

interim, subject to agency- and contract-specific deviations to be developed by each

agency. FAR Memo at 4. The conclusion of the policymaking process set forth in the

EO—the FAR Council’s amendment to the FAR to complete the implementation of the

EO by providing the contract clause “for inclusion in Federal procurement solicitation

and contracts” subject to the EO—has yet to occur. EO 14042 § 3(a).

       Second, agencies can implement the EO without the FAR Memo, so the FAR Memo

is not a decision from which “legal consequences will flow.” Bennett, 520 U.S. at 177–78

(citation omitted). Plaintiffs cannot challenge guidance when they fail to show “any risk

of future harm traceable to the . . . Guidance itself, as opposed to the preexisting federal

laws it describes.” Klayman v. President of the U.S., 689 F. App'x 921, 924 (11th Cir. 2017).

Indeed, that is why Plaintiffs also lack standing to challenge the FAR Memo.

       Even if the FAR Memo was final agency action, Plaintiffs fail to challenge any

specific aspect as unreasonable. The FAR Memo simply carries out the EO directive to


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“take initial steps to implement appropriate policy direction” for how agency acquisition

offices can use the contract clause described in the EO. EO 14042 § 3(a). Plaintiffs claim

that the FAR Memo improperly reveals “the goal of . . . ‘getting more people vaccinated

and decreas[ing] the spread of COVID-19,’” Mot. at 19 (quoting FAR Memo at 3), but it

is difficult to see what is problematic about this intention, which dovetails with the EO’s

goal of “decreas[ing] the spread of COVID-19, which will decrease worker absence,

reduce labor costs, and improve the efficiency of contractors and subcontractors at sites

where they are performing work for the Federal Government.” EO 14042 § 1.

       Section 1707’s procedural notice requirements also do not apply to the FAR Memo

because it is, at most, nonbinding guidance, and not “a procurement policy, regulation,

procedure, or form” with “a significant effect beyond” the FAR Council’s operating

procedures. The FAR Council issued the memo to develop a template COVID-19 safety

clause “to support agencies in meeting the applicability requirements and deadlines set

forth in [EO 14042]” and to “encourage[]” agencies to “exercise their authority” to

temporarily deviate from the FAR by including similar clauses in their procurement

contracts. FAR Memo at 2–3. The FAR Memo has no independent effect, however, and

none of its guidance is operational unless an agency chooses to incorporate it into a

procurement contract. See 41 U.S.C. § 1303(a)(2)(A) (agencies have authority separate

from the FAR). And the FAR Memo does not direct an agency to take any specific action,

but instead encourages contracting officers to “follow the direction[s] … issued by their

respective agencies” for how to utilize the memo’s guidance. Id.
       G.     Plaintiffs’ Constitutional Claims Are Meritless.

       1.     The challenged actions do not violate the Tenth Amendment.
       Plaintiffs cannot succeed on a Tenth Amendment claim by simply invoking

general maxims of federalism. The Tenth Amendment provides that “[t]he powers not

delegated to the United States by the Constitution, nor prohibited by it to the States, are

reserved to the States respectively, or to the people.” U.S. Const. amend. X. The powers


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specifically delegated to the federal government by the Constitution “are not powers that

the Constitution ‘reserved to the States.’” United States v. Comstock, 560 U.S. 126, 144

(2010); accord New York v. United States, 505 U.S. 144, 156 (1992) (“If a power is delegated

to Congress in the Constitution, the Tenth Amendment expressly disclaims any

reservation of that power to the States[.]”). Simply put: As long as federal action rests on

a constitutionally delegated power, “there can be no violation of the Tenth Amendment.”

United States v. Mikhel, 889 F.3d 1003, 1024 (9th Cir. 2018) (citation omitted).

       Where (as here) a federal statute is validly enacted under one of Congress’s

enumerated powers, and the Executive Branch exercises authority lawfully delegated

under that statute, the Tenth Amendment is no bar to federal action. See, e.g., Wachovia

Bank v. Watters, 431 F.3d 556, 563 (6th Cir. 2005), aff’d, 550 U.S. 1 (2007). As explained

above, see supra § II.A–B, D, EO 14042 and the OMB Determination were issued pursuant

to the President’s authority under the Procurement Act, a federal statute that was an

evident exercise of Congress’s power under the Spending Clause, see infra.

       Plaintiffs’ vague references to “time-honored principles of federalism” cannot alter

this conclusion. Mot. 20–21. In addressing a Tenth Amendment claim, a court has “no

license to employ freestanding conceptions of state sovereignty when measuring” federal

authority under the Constitution. Garcia v. San Antonio Metro. Transit Auth., 469 U.S. 528,

550 (1985). The only question under the Tenth Amendment is whether the federal

government acts pursuant to one of its powers under the Constitution; if it does, a court

“necessarily must also conclude that the [plaintiffs’] efforts to invoke abstract principles

of federalism through the Tenth Amendment fail.” See, e.g., Town of Johnston v. Fed. Hous.

Fin. Agency, 765 F.3d 80, 86 (1st Cir. 2014); see also Garcia, 469 U.S. at 549 (“States

unquestionably do retain a significant measure of sovereign authority,” but “only to the

extent that the Constitution has not divested them of their original powers and

transferred those powers to the Federal Government.” (cleaned up)).

       Plaintiffs also appear to suggest that a Tenth Amendment problem exists


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whenever federal action regulates subject matter that is also regulated by the states. See

Mot. at 20–21 (“[T]he regulation of health and safety matters is primarily and

historically[] a matter of local concern.” (citation omitted)). But “[t]here is no general

‘doctrine implied in the Federal Constitution that the two governments, national and

state, are each to exercise its powers so as not to interfere with the free and full exercise

of the powers of the other.’” Maryland v. Wirtz, 392 U.S. 183, 195 (1968) (quoting Case v.

Bowles, 327 U.S. 92, 101 (1946)). Indeed, it is axiomatic that the federal government does

not “invade[] areas reserved to the States by the Tenth Amendment simply because it

exercises its authority” under the Constitution, even “in a manner that displaces the States’

exercise of their police powers.” Hodel v. Va. Surface Mining & Reclamation Ass’n, 452 U.S.

264, 291 (1981) (emphasis added). Thus, “‘the Federal Government, when acting within

a delegated power, may override countervailing state interest,’ whether those interests

are labeled traditional, fundamental, or otherwise.” Brackeen v. Haaland, 994 F.3d 249, 310

(5th Cir. 2021) (en banc) (op. of Dennis, J.) (quoting Wirtz, 392 U.S. at 195)), petition for cert.

filed, No. 21-380 (U.S. Sept. 8, 2021).

       Plaintiffs’ argument also ignores that the terms of a federal contract are an

exclusively federal concern. Under the doctrine of intergovernmental immunity, a federal

contractor is immune from conflicting state laws and regulations even when those state
laws are purportedly based on state police power.               The doctrine arises from the

Supremacy Clause and bars state regulations that “retard, impede, burden, or in any

manner control the operations of the constitutional laws enacted by [C]ongress to carry

into effect the powers vested in the national government.” M’Culloch v. Maryland, 17 U.S.

(4 Wheat.) 316, 317 (1819). “For purposes of intergovernmental immunity, federal

contractors are treated the same as the federal government itself.” U.S. v. Cal., 921 F.3d

865, 882 n.7 (9th Cir. 2019). Courts regularly conclude that government contractors are

immune from conflicting state laws, even when those laws are based on state power to

regulate health and safety. See Boeing Co. v. Movassaghi, 768 F.3d 832, 840 (9th Cir.


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2014); GEO Grp., Inc. v. City of Tacoma, No. 3:18-cv-05233, 2019 WL 5963112, at *5 (W.D.

Wash. Nov. 13, 2019). Thus, the Federal Government may contract with whom it likes

under whatever terms it pleases without interference from states.

       2.      The challenged actions do not violate the Spending Clause.
       Plaintiffs also claim that EO 14042 and its implementing guidance exceed a

limitation imposed on “the federal government’s spending power,” Mot. at 20—namely,

that if Congress “condition[s] the States’ receipt of federal funds, it must do so

unambiguously,” to “enable[] the States to exercise their choice knowingly.” South Dakota

v. Dole, 483 U.S. 203, 206–07 (1987) (quoting Pennhurst State Sch. & Hosp. v. Halderman, 451

U.S. 1, 17 (1981)).

       This limit on Congress’s authority to condition grants of federal funding does not

apply to federal contracts. Plaintiffs cite no case where a court has found federal contract

obligations invalid under Dole and Pennhurst’s clarity requirement. And for good reason:

adopting Plaintiffs’ position would make simple imprecisions in federal procurement

contracts matters of constitutional magnitude. As the Supreme Court has explained, even

“the consequences of imprecision” in spending legislation “are not constitutionally

severe” when the government “is acting as patron rather than as sovereign.” See Nat’l

Endowment for the Arts v. Finley, 524 U.S. 569, 589 (1998). That is especially true when the

government procures property or services “as private parties, individuals or corporations

also engage in among themselves.” See Arbitraje Casa de Cambio, S.A. de CV. v. United

States, 79 Fed. Cl. 235, 240–41 (Fed. Cl. 2007) (citation omitted).

       At any rate, EO 14042 and its implementing guidance unambiguously put

contractors on notice that compliance with OMB-approved Task Force Guidance is an

obligation under a covered contract. Dole and Pennhurst require nothing more. See

Benning v. Georgia, 391 F.3d 1299, 1307 (11th Cir. 2004). The Court in Pennhurst was

concerned with a federal grant program that “was unclear as to whether the states



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incurred any obligations at all by accepting federal funds.” See id. (emphasis added);

accord Commonwealth of Ky., Dep’t of Hum. Resources v. Donovan, 704 F.2d 288, 299 n.17 (6th

Cir. 1983). Here, however, EO 14042 ensures that “the existence of the condition itself”

will be “explicitly obvious” to federal contractors by directing agencies to incorporate (to

the extent permitted by law) a COVID-19 safety clause into a contract before obligating a

contractor’s compliance.     See Benning, 391 F.3d at 1307 (emphasis added) (quoting

Mayweathers v. Newland, 314 F.3d 1062, 1067 (9th Cir. 2002)). For each contract identified

by Plaintiffs, see supra § I, such a clause could only be incorporated upon the mutual

agreement of the parties. Thus, because the challenged actions ensure that the “intention

to impose a condition is expressed clearly” in a covered contract, see Mayweathers, 314 F.3d

at 1067, a state will be capable of making “an informed,” voluntary decision whether to

accept the attendant obligations of contracting with the federal government, see

Pennhurst, 451 U.S. at 25; see also id. at 17 (conditions must be imposed clearly so a state is

not “unaware of the conditions” or “unable to ascertain what is expected of [them]”).

       Furthermore, Plaintiffs stake their entire claim on the fact that agencies are

encouraged under the FAR Memo to include a provision requiring compliance with

“guidance conveyed through Frequently Asked Questions,” which may be amended

during the period of performance. See Mot. 21. But the Supreme Court has not required

exactitude when conditioning federal funding. See, e.g., Bennett v. Ky. Dep’t of Educ., 470

U.S. 656, 669 (1985) (“[T]he Federal Government simply could not prospectively resolve

every possible ambiguity concerning particular applications of [a grant program’s]

requirements ….”). Indeed, “the Supreme Court has held that conditions may be ‘largely

indeterminate,’” and yet constitutionally permissible, “so long as the statute ‘provid[es]

clear notice to the States that they, by accepting funds under [federal law], would indeed

be obligated to comply with [the conditions].” Mayweathers, 314 F.3d at 1067 (quoting

Pennhurst, 451 U.S. at 24–25). Federal contractors are capable of making informed,

voluntary decisions to accept an obligation to comply with periodically updated


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guidelines.   See Donovan, 704 F.2d at 299 (“Thus, the state voluntarily accepts the

Secretary’s power to alter the program and require compliance.”).

       3.     The challenged actions do not violate the nondelegation doctrine.
       Plaintiffs contend that the Procurement Act violates the Constitution’s

nondelegation doctrine if it authorizes the President to issue EO 14042. See Mot. at 22–

23. To the contrary, the Procurement Act’s delegation of authority fits comfortably within

the bounds of constitutionally permissible delegations. Congress may lawfully delegate

decision-making authority so long as it “lay[s] down by legislative act an intelligible

principle to which the person or body authorized to [act] is directed to conform.”

Mistretta v. United States, 488 U.S. 361, 372 (1989) (citation omitted). A delegation is

“constitutionally sufficient if Congress clearly delineates [1] the general policy, [2] the

public agency which is to apply it, and [3] the boundaries of this delegated authority.” Id.

at 372–73 (citation omitted); accord Gundy v. United States, 139 S. Ct. 2116, 2129 (2019)

(plurality op.) (“[A] delegation is permissible if Congress has made clear to the delegee

‘the general policy’ he must pursue and the ‘boundaries of his authority.’” (cleaned up)).

       The intelligible-principle standard is so deferential that the Supreme Court has

“almost never felt qualified to second-guess Congress regarding the permissible degree

of policy judgment that can be left to those executing or applying the law.” Whitman v.
Am. Trucking Ass’ns, 531 U.S. 457, 474–75 (2001) (quoting Mistretta, 488 U.S at 416 (Scalia,

J., dissenting)). In fact, the Supreme Court has struck down congressional delegations

only twice in United States history—both in 1935—and only because “Congress had

failed to articulate any policy or standard” to confine discretion. Gundy, 139 S. Ct. at 2129.

Over the last eighty years, the Court “has countenanced as intelligible seemingly vague

principles in statutory text such as whether something would ‘unduly or unnecessarily

complicate,’ … be ‘generally fair and equitable,’ in the ‘public interest,’ … [or]

authoriz[es] the recovery of excessive profits.” In re Nat’l Sec. Agency Telecomms. Recs.



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Litig., 671 F.3d 881, 896 (9th Cir. 2011) (citing multiple cases); see also, e.g., Indus. Union

Dep’t, AFL-CIO v. Am. Petroleum Inst., 448 U.S. 607, 646 (1980) (upholding delegation to

determine what constituted a “safe” place of employment); Gundy, 139 S. Ct. at 2129

(noting that the Supreme Court has, on multiple occasions, “approved delegations to

various agencies to regulate in the ‘public interest”’ (citing Nat'l Broad. Co. v. United States,

319 U.S. 190, 216 (1943), and N.Y. Cent. Secs. Corp. v. United States, 287 U.S. 12, 24 (1932)));

id. at 2130–31 (Alito, J., concurring in the judgment) (“[S]ince 1935, the Court has

uniformly rejected nondelegation arguments and has upheld provisions that authorized

agencies to adopt important rules pursuant to extraordinarily capacious standards.”).

       In light of this longstanding precedent, the statute at issue here reflects an

intelligible principle that falls well within permissible bounds.           As explained, the

Procurement Act sets forth a general policy—the promotion of economy and efficiency

in the federal government’s procurement of property and services, see 40 U.S.C. § 101—

and authorizes the President to issue orders designed to further those specific statutory

goals in that narrow, definable context, see id. § 121(a).         The statute’s criteria thus

establishes a clear boundary for the President’s actions, and compares favorably to other

congressional delegations that have been sustained against challenges under the

nondelegation doctrine. See, e.g., Whitman, 531 U.S. at 474–75 (listing cases). Several

courts have already held that the Procurement Act’s delegation of authority to the

President is valid. See Kahn, 618 F.2d at 785–86, 793 n.51 (“[The Procurement Act] requires

the President to make procurement policy decisions based on considerations of economy

and efficiency. Although broad, this standard can be applied generally to the President’s

actions to determine whether those actions are within the legislative delegation.”); City of

Albuquerque, 379 F.3d at 914–15 (finding the Procurement Act’s limit that the President

“establish ‘an economical and efficient system for . . . the procurement and supply’ of

property” provided an “‘intelligible principle’ to guide the exercise” of the “relatively

broad delegation of authority” in the statute (citations omitted).


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       Plaintiffs cite no authority to the contrary. Instead, they largely reiterate their

statutory objections, maintaining that EO 14042 “has no basis in the text of” the

Procurement Act, but if it did, the statute would be too “broad.” See Mot. 23. But that is

not the standard. “Congress does not violate the Constitution merely because it legislates

in broad terms, leaving a certain degree of discretion to executive or judicial

actors.” Touby v. United States, 500 U.S. 160, 165 (1991). As the Supreme Court has

acknowledged, “Congress simply [could not] do its job absent an ability to delegate

power under broad general directives.” Mistretta, 488 U.S. at 372. In sum, only if this

Court “could say that there is an absence of standards for the guidance of the [President’s]

action, so that it would be impossible in a proper proceeding to ascertain whether the will

of Congress has been obeyed, would [the Court] be justified in overriding [Congress’s]

choice of means for effecting its declared purpose” in the Procurement Act. See Yakus v.

United States, 321 U.S. 414, 426 (1944) (emphasis added). That is not the case here.

III.   Plaintiffs Are Not Likely To Suffer Irreparable Harm In The Absence Of
       Preliminary Relief.

       Plaintiffs are also not entitled to a preliminary injunction because they have failed

to show a likelihood of irreparable harm, an “‘indispensable’ requirement for a

preliminary injunction.” Memphis A. Philip Randolph Inst. v. Hargett, 978 F.3d 378, 391 (6th
Cir. 2020) (citation omitted). “To merit a preliminary injunction, an injury must be both

certain and immediate, not speculative or theoretical.” D.T. v. Sumner Cnty. Schs., 942

F.3d 324, 327 (6th Cir. 2019) (cleaned up). A plaintiff cannot make this showing with

“unsubstantiated and conclusory assertions,” John Doe Co. v. Consumer Fin. Prot. Bureau,

849 F.3d 1129, 1134 (D.C. Cir. 2017), but must “substantiate a claim that irreparable injury

is likely to occur” by providing competent “evidence” of irreparable harm, Mich. Coal. of

Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d 150, 154 (6th Cir. 1991).

       First, Plaintiffs suggest that they will suffer irreparable harm in the absence of

preliminary relief because the challenged actions violate “the constitutional structure.”


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Mot. at 24–25. But as explained above, Plaintiffs have identified no constitutional defect

in EO 14042, the OMB Determination, or the FAR Memo. See supra § II.G. At any rate,

Plaintiffs have not alleged the type of constitutional violation contemplated by the

authorities they cite—i.e., the deprivation of an individual constitutional right. See Doe v

Univ. of Cincinnati, 872 F.3d 393 (6th Cir. 2017) (involving the alleged deprivation of the

individual right to due process); Obama for Am. v. Husted, 697 F.3d 423 (6th Cir. 2012)

(involving “the fundamental right to vote”); McCreary Cnty., 354 F.3d 438 (involving

“constitutional rights” under the Establishment Clause); Elrod v. Burns, 427 U.S. 347

(1976) (involving the “loss of First Amendment freedoms” of political association and

expression). Although the violation of an individual constitutional right can support a

finding of irreparable harm, see N.Y. State Rest. Ass’n v. N.Y.C. Bd. of Health, 545 F. Supp.

2d 363, 367 (S.D.N.Y. 2008), rev’d on other grounds, 556 F.3d 114 (2d Cir. 2009), Plaintiffs

here seek preliminary relief on the basis of structural constitutional claims involving

Congress’s authority under the Spending Clause, the Tenth Amendment, and the non-

delegation doctrine. See Mot. at 19 (alleging violations of “three key constitutional

limitations on federal government power”).          An alleged violation of “a structural

provision of the Constitution that does not confer personal rights” cannot support a

finding of irreparable harm. Weisshaus v. Cuomo, 512 F. Supp. 3d 379, 389 (E.D.N.Y. 2021)

(citation omitted); accord, e.g., Pub. Serv. Co. of N.H. v. Town of W. Newbury, 835 F.2d 380,

382 (1st Cir. 1987); Am. Petroleum Inst. v. Jorling, 710 F. Supp. 421, 431 (N.D.N.Y. 1989);

Live 365, Inc. v. Copyright Royalty Bd., 698 F. Supp. 2d 25, 45 (D.D.C. 2010).

       Second, Plaintiffs claim that EO 14042 and its implementing guidance will harm

them by “intruding on their sovereign authority” to enforce their own public-health

“policies that conflict with” federal law. Mot. at 23–24. But this claim simply reiterates

Plaintiffs’ doctrinally barren view of the Tenth Amendment. Again, it is black-letter law

that the federal government does not “invade[]” areas of state sovereignty “simply

because it exercises its authority” in a way that preempts conflicting state laws, even “in


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a manner that displaces the States’ exercise of their police powers.” Hodel, 452 U.S. at 291

(emphasis added). Here, EO 14042 and the OMB Determination, and the FAR Memo

were issued pursuant to delegated authority under the Procurement Act. See supra § I.C.

And as federal law, these actions preempt conflicting state laws by simple operation of

the Supremacy Clause, and nothing in the text or structure of the Constitution entitles

Plaintiffs to “enact or enforce … laws and policies that conflict” with federal law. 5

       Third, Plaintiffs claim that they will be irreparably harmed because they are being

denied the opportunity for notice and comment. Mot. at 25–26. As explained above, this

claim is moot.      Plaintiffs have notice and they can submit their comments to:

https://www.federalregister.gov/public-inspection/2021-24949/determination-regarding

-the-revised-safer-federal-workforce-task-force-guidance-for-federal

       Lastly, Plaintiffs argue that, absent preliminary relief, they “will suffer irreparable

economic harm caused by loss of contracts with the federal government.” Mot. at 26.

This claim fails for a multitude of reasons. As explained above, see supra § I, Plaintiffs do

not identify a single contract that will be affected by the challenged actions during the

pendency of this litigation. See Griepentrog, 945 F.2d at 154 (requiring competent evidence

to substantiate a claim of irreparable harm). Their allegations of economic harm from

lost contracts are thus bare, speculative assertions that are insufficient to support a
finding of irreparable harm. 6 See, e.g., Wis. Gas. Co. v. Fed. Energy Regul. Comm’n, 758 F.2d

5
  Plaintiffs’ reliance on Thompson v. DeWine, 976 F.3d 610 (6th Cir. 2020), Maryland v. King,
567 U.S. 1301 (2012) (Roberts, C.J., in chambers), and Abbott v. Perez, 138 S. Ct. 2305 (2018),
is misplaced. None support the theory that states suffer irreparable injury whenever the
federal government “prevent[s]” them “from effectuating” their own laws. See Mot. at
24 (citation omitted). If such a rule existed, a state would suffer irreparable harm per se
from all federal laws with preemptive effect. Instead, each case held that a state defend-
ant established irreparable harm sufficient to grant a stay of a lower court’s injunction
barring the state from enforcing a challenged state law—a scenario not at issue here.
6 As explained above, see supra § I, Plaintiffs Stevens and Hildenbrand, two Ohio Sheriffs

who have sued in their official capacities, likewise fail to point to any covered contract to



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669, 674 (D.C. Cir. 1985).

       Additionally, Plaintiffs are incorrect to assert that any theoretical economic harm

resulting from the loss of a federal procurement contract would be unrecoverable, as a

state agency or subdivision could seek recovery for such loss in the Court of Federal

Claims under the Contract Disputes Act (“CDA”), 41 U.S.C. §§ 7101–7109. The CDA

“applies to any express or implied contract entered into by an executive agency for the

procurement of property, services, construction, repair, or the disposal of personal

property.” Anselma Crossing, L.P. v. USPS, 637 F.3d, 238, 240 (3d Cir. 2011). And under

28 U.S.C. § 1491(a)(2), the Court of Federal Claims “has jurisdiction to decide both

monetary and non-monetary disputes” arising under the CDA, “including a dispute

concerning termination of a contract.” See Clearwater Constructors, Inc. v. United States, 56

Fed. Cl. 303, 307 (Fed. Cl. 2003) (quoting 28 U.S.C. § 1491(a)(2).

       Similarly, to the extent a state agency or subdivision were to challenge the

solicitation requirements for any new contracts with a COVID-19 safety clause, Plaintiffs

may bring an action in the Court of Federal Claims “objecting to a solicitation by a Federal

agency for bids or proposals for a proposed contract or to a proposed award or the award

of a contract or any alleged violation of statute or regulation in connection with a

procurement or a proposed procurement.” 28 U.S.C. § 1491(b)(1). This encompasses “all

stages of the process of acquiring property or services, beginning with the process for

determining a need for property or services and ending with contract completion and

closeout.” Distributed Sols., Inc. v. United States, 539 F.3d 1340, 1345 (Fed. Cir. 2008)

(citation omitted).

       But even assuming for argument’s sake that Plaintiffs’ theoretical economic losses

were unrecoverable, that fact alone would not itself “compel a finding of irreparable

harm.” Cardinal Health Inc. v. Holder, 846 F. Supp. 2d 203, 211 (D.D.C. 2012) (citation

which they are, or will soon be, a party. There are thus no grounds upon which to find
that the challenged actions will cause them imminent, irreparable harm.


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omitted). For such a rule would “effectively eliminate the irreparable harm requirement”

against the federal government, in that “[a]ny movant that could show any damages

against an agency with sovereign immunity—even as little as $1—would satisfy the

standard.” Air Trans. Ass’n of Am., Inc. v. Exp.-Imp. Bank of the U.S., 840 F. Supp. 2d 327,

335 (D.D.C. 2012). Instead, to support a preliminary injunction, economic harm must “be

great, certain and imminent,” Cardinal Health, 46 F. Supp. 2d at 211 (citation omitted),

“even where it is irretrievable because a defendant has sovereign immunity,” Air Trans.,

840 F. Supp. 2d at 335. Plaintiffs provide no evidence on which to find that they will

suffer certain and imminent irreparable economic injury.

IV.    The Requested Preliminary Relief Is Contrary To The Public Interest.

       The third and fourth requirements for issuance of a preliminary injunction—the

balance of harms and whether the requested injunction will disserve the public interest—

“merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435

(2009). Here, these considerations tilt decisively in Defendants’ favor.

       First, enjoining the challenged actions would harm the public interest in slowing

the spread of COVID-19 among millions of employees of federal contractors and the

public at large. ”Stemming the spread of COVID-19 is unquestionably a compelling

interest.” Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020). Numerous

courts reviewing “executive action designed to slow the spread of COVID-19” have

concluded that “[t]he public interest in protecting human life—particularly in the face of

a global and unpredictable pandemic—would not be served by” an injunction. 7

       Second, enjoining the challenged actions would harm the public interest by

hampering the efficiency of federals contractors on which the federal government

depends.    The COVID-19 pandemic has interfered with numerous aspects of the

7
 See, e.g., Tigges v. Northam, 473 F. Supp. 3d 559, 573–74 (E.D. Va. 2020); Am.’s Frontline
Drs. v. Wilcox, No. EDCV 21-1243, 2021 WL 4546923, at *8 (C.D. Cal. July 30, 2021); TJM
64, Inc. v. Harris, 475 F. Supp. 3d 828, 840–41 (W.D. Tenn. 2020).


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government’s work by, for example, forcing office closures, interfering with employees’

access to paper-based records, limiting official travel, and causing staffing shortages. See

Pandemic Response Accountability Committee, Top Challenges Facing Federal Agencies

(June 2020), https://perma.cc/GGF4-F4FV. Requiring federal contractors to ensure that

their employees become fully vaccinated against COVID-19, with exceptions only as

required by law, reduces disruptions caused by worker absences associated with illness

or exposure to the virus, generating meaningful gains in efficiency. Enjoining EO 14042

and its implementing guidance would prevent these gains and would likely interfere

with federal contractors’ ability to resume normal, pre-pandemic operations.

       Granting the requested preliminary injunction would not “preserve the status

quo” (as Plaintiffs suggest, see Mot. 9), but would instead upend it by (i) preventing

further implementation of EO 14042, which has been in effect for over two months; and

(ii) interfering with the federal government’s ability to determine the terms on which it

will enter into contracts. See Nken, 556 U.S. at 428–29 (explaining that enjoining a

government policy is an act of “judicial intervention” that “alter[s] the legal status quo”);

Brown v. Gilmore, 533 U.S. 1301, 1303 (2001) (Rehnquist, C.J., in chambers) (explaining that

“an injunction against the enforcement of a presumptively valid” enactment should only

be granted in extraordinary circumstances). In sum, granting the pending motion would

harm the public interest far more than denying the motion would harm Plaintiffs, and

the motion should therefore be denied.

       Finally, although preliminary relief is unjustified here, at a minimum, any such

relief should be no broader than necessary to redress Plaintiffs’ alleged injuries. Plaintiffs

ask the Court to enter a preliminary injunction prohibiting Defendants “from enforcing”

a vaccination mandate “on any federal contracting agency, subcontractor [or] employee[]

anywhere in the United States.” Compl., Prayer for Relief. No such relief is warranted. A

federal court’s “constitutionally prescribed role is to vindicate the individual rights of the

people appearing before it,” “[a] plaintiff’s remedy must be tailored to redress the


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plaintiff’s particular injury.” Gill v. Whitford, 138 S. Ct. 1916, 1933–34 (2018) (citation

omitted); see also Kentucky v. Yellen, ---F. Supp. 3d---, 2021 WL 4394249, at *8 (E.D. Ky.

Sept. 24, 2021) (concluding that “the Sixth Circuit has already defined the outer-bounds

of this Court’s powers”). Nationwide injunctions “take a toll on the federal court

system—preventing legal questions from percolating through the federal courts,

encouraging forum shopping, and making every case a national emergency for the courts

and for the Executive Branch.” Trump v. Hawaii, 138 S. Ct. 2392, 2425 (2018) (Thomas, J.,

concurring). EO 14042 and its implementing guidance have been challenged in other

cases, underscoring why this Court should not attempt to decide its legality for all parties.

       Here, the only contracts that Kentucky has identified in its motion are the five

contracts with ICE or the U.S. Marshals Service, none of which are covered contracts.

Even assuming these contracts give Kentucky standing to challenge the EO and its

implementing guidance, any relief should be tailored to those five contracts and limited

to the states of Ohio and Kentucky.          Moreover, any relief should merely block

enforcement—not inclusion—of a COVID-19 safety clause. Allowing COVID-19 safety

clauses to be included but not enforced during the pendency of this litigation best

preserves the legal status quo: As long as the injunction remains in place, contractor

employees within its scope need not be vaccinated. But if EO 14042 and its implementing

guidance are ultimately upheld, the policy can be put into effect without further delay.
                                     CONCLUSION
       Plaintiffs’ motion for a preliminary injunction should be denied.

DATED: November 16, 2021                  Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       On November 16, 2021, I electronically submitted the foregoing document with

the Clerk of Court for the U.S. District Court, Eastern District of Kentucky, using the

Court’s electronic case filing system. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).
                                              /s/ Jody D. Lowenstein
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